           Case 1:20-vv-01420-UNJ Document 28 Filed 10/12/21 Page 1 of 2




        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 20-1420V

    ************************* *
                                *                          UNPUBLISHED
    ANNA RICCI,                 *
                                *
                                *
                    Petitioner, *                          Special Master Katherine E. Oler
                                *
    v.                          *
                                *
                                *                          Filed: August 3, 2021
    SECRETARY OF HEALTH AND     *
    HUMAN SERVICES,             *
                                *
                                *                          Withdrawal of Petition; Order Concluding
                    Respondent. *                          Proceedings
                                *
    ************************* *

Andrew D. Downing, Van Cott & Talmante, PLLC, for Petitioner.
Debra A. Filteau Begley, U.S. Department of Justice, Washington, D.C., for Respondent.

                            ORDER CONCLUDING PROCEEDINGS1

       On October 20, 2020, Anna Ricci (“Petitioner”) filed a petition for compensation under the
National Vaccine Injury Compensation Program,2 alleging that she suffered an adverse reaction to
a Gardasil vaccination she received on December 21, 2017. Pet., ECF No. 1.

        Because a decision had not been issued within the time specified in Vaccine Rule 10(b), a
notice issued on July 1, 2021, advising that “the petitioner may withdraw the petition under section
300-aa-21(b) of this title or the petitioner may choose under section 300aa-21(b) of this title to


1
  This Order will be posted on the Court of Federal Claims’ website. This means the Order will be
available to anyone with access to the internet. As provided by 42 U.S.C. § 300aa-12(d)(4)(B), however,
the parties may object to the order’s inclusion of certain kinds of confidential information. Specifically,
under Vaccine Rule 18(b), each party has fourteen days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). If, upon review, I agree that the
identified materials fit within this definition, I will redact such material from public access. Otherwise, the
Order in its present form will be available. Id.
2
  The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) (“Vaccine
Act” or “the Act”). Individual section references hereafter will be to § 300aa of the Act (but will omit that
statutory prefix).

                                                      1
           Case 1:20-vv-01420-UNJ Document 28 Filed 10/12/21 Page 2 of 2




have the petition remain before the Special Master.” 42 U.S.C. § 300aa-12(g). On August 2, 2021,
Petitioner filed a notice to withdraw her petition pursuant to 42 U.S.C. § 300aa-21(b).3

       In light of Petitioner’s election to withdraw the petition pursuant to 42 U.S.C. § 300aa-
21(b) (promulgated as Vaccine Rule 10(d)), Petitioner’s request to withdraw the petition is
GRANTED. Accordingly, this order hereby notifies the Clerk of Court that proceedings “on the
merits” of this petition are now concluded, but no judgment “on the merits” should be entered by
the Clerk’s office.

IT IS SO ORDERED.

                                                            s/ Katherine E. Oler
                                                           Katherine E. Oler
                                                           Special Master




3
  Because the last day of the 30-day period fell on a Saturday (July 31, 2021), Petitioner’s notice was timely
filed on Monday, August 2, 2021, pursuant to the computation of time in Vaccine Rule 19(a)(1)(C).

                                                      2
